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                                   VE,RBATIM TRANSLATION

 neil che says:
 Hello Dr. MO
 Are you there?
 The status of inbred seedling separation this year can be briefly put like this: maybe three of
  them failed to separate but that is not confirmed. I have had the lab to do the test validation
   on pure inbred. Last year's number l, 5, 8, number 5 failed.
 When you arrive in Beijing, you should schedule the visit after a short break. I can pick you
   up and give you a ride when you are ready. I will be going to the northeast after around
   September l0 to inspect the status of the test validation.
car says:
 Hello Dr. MO
 Did you see my message?
Hailong says:
 yes
 It   seems   L 5, and 8 are still unresolved.
car says:
 Number 5 is only one didn't [separate]. Number I and 8 did.
 You can visit us when you have some time after you arrive in Beijing. The overall outcome of
   inbred seedling separation this year is not bad.
 About 80% or higher yield.
Hailong says:
 Excellent. But number 5 is a waste. Only carry one modified gene, RR2
car says:
 We still have the seeds that have not been [genetically] separated. We can redo [the separation].
Hailong says:
 Number 8 is very good. Regular breed. That rarely happens.
car says:
 ok.
 This is the third year. We have accumulated some separation experiences.
 We also have searched for other types beside inbred seedlings and suspect if it is mechanical
    mixture during seed production. They are being identified in the lab.
Hailong says:
 Number I is even more awesome. Other people commented on its high density tolerance and
    recommended it to Dr. LI. Did it show its density tolerance?
car says:
 It did very well.
 I am also grateful for the fact that we are able to find two out the three that didn't separate last
    year. I am kind of sorry for Number 5, but we still have chances.
 There are a great amount of leftover seeds.
 Although they are old seeds, germination rate is still very good.
Hailong says:
 Also have searched for other types beside inbred seedlings and suspect if there are mechanics
    induced mixtures during seed production. They are being evaluated in the lab...l am also



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    worried about this. Some the pallets I purchased have the leftovers from opened packages. I
    suspect that there is a small amount of mixture.
car says:
 Mixture is good. More options.
Hailong says:
 I have high hopes for quite a few ofthem this year. There are also a bunch ofnew products.
    You guys are really lucky to get to use the latest product first.
car says:
 Great. Also, you should focus on a new direction.
 High-yield waxy corn is the best feed for piglets, and is a new direction of special breeding.
 Next year we can increase the collection of waxy com breed sources next year. This may be
    integrated into the Group's feed industry chain very well.
Hailong says:
 What is the indicator of com stickiness?
car says:
 It's the waxy corn as human food.
 That means it is similar to regular corn, but has a waxy texture. Usually used for human food.
    They are a special type of corn.
Hailong says:
 Usually they are not planted in the fields. But seed purchase companies may have some.
car says:
 Yes.
Hailong says:
 Americans eat sweet corn, they are sweet and soft. But I rarely see waxy corn as human food.
car says:
 We can start to gain more knowledge and be better prepared in this regard.
 Yes sweet corn and waxy com are considered special corn breeds.
Hailolg   says:
 You can buy waxy corn seeds if available. That should be easier.
car says:
 Right. If you have time you can start to get some information by browsing some US breeds
    websites. I will have CHEN Dianqing decide whether we can compile a seed purchase list
    before seed purchase ofnext year.
Hailong says:
 People would ask me if it's sweet corn when I make a purchase. The idea field product doesn't
    come first.
car says:
 I figure that majority of waxy corns are non-transgenic.
 Is the sweet corn in America genetically modified?
Hailong says:
 There are a lot of sweet corns just in the state of Florida. I've seen it in the fields.
 It takes some effort to find out whether they are transgenic or not because transgenic labeling
    is not mandatory in America. Some products are labeled some are not. The most of the
    unlabeled are transgenic.
car says:
 oh.


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 That shouldn't be a problem. Our company's biotech department can easily determine whether
   it is transgenic or not.
Hailong says:
 Also the partnership with US companies. Our counterpart never stopped trying. The goal is
   there and definite. Their main thing is to have better understanding and thorough
   preparations. In the best scenario we can get the test seeds next year.
car says:
 That will be great.
 I also have high hopes that the exploration of this channel can add new material to the
   company's experimentation of partnership with foreign companies and expansion of resource
  channels.
Food warfare and seed industry globalization are the trends. We have to explore early and be
   well prepared.
Hailong says:
 They want to know the current state of mechanization in China, especially the level of
   mechanization in agriculture. I have done research from various sources but didn't find
   anything ready-to-go. I wonder if you have some.
car says:
 American com can occupy corn planting area of the entire world. I hope that one day Kings
   Nower's rice can make a breakthrough in the world and balance out the competition in the
   seed industry.
 I don't have it handy. I can gather some info.
 The level of mechanization in the plain area is very high.
Hailong says:
 They want to know the level mechanization of China's agriculture mainly for the purpose that
   they can provide test breeds and take up the provinces with high level of mechanization at
   one blow. Strategically savvy.
car says:
 Yeah.
 But the ecology belt of the US is similar to the east of north China. It may be a challenge to
   enter Huang-huai-haiplain (happens to be the highly mechanized area).
Hailong says:
 Also their breeds are short and dense, even very dense and they are suitable for mechanized
   operation. The ear height is 80mm.
car says:
 Different breeds fit different environment.
 The summer planting area of Huang-huai-hai [plain] has high temperature and humidity, high
   wind and heavy precipitation. Lot of pressure from lodging and diseases.
 Summer com area of Huang-huai-hai fplain] is where Pioneer's product competition in China
   comes from.
Hailong says:
 But the ecology of the US is similar to the east of northern China. Settling in Huang-huai-hai
   plain [North China Plain] (it happens to be the area with high degree of mechanization) may
   be difficult. That is what I am concemed about. So my suggestion to them is to make large
   planting area number one priority.



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 High yield the second, and disease resistance and lodging resistance are the third.
 They have always tried to know China. But this time they are serious.
car says:
  From our company's strategic point of view, the marriage with foreign companies can expand
    channels, import foreign breeding resources, and enhance the R&D capability of future
    generation breeds. The secondary purpose is to use the foreigners' technology to beat them;
    compete with Pioneer China and to buy time for research and development of our products.
 I think it's better to invite them to take a tour in China and gain some understanding.
 Should show them around several commercial areas and test areas.
Hailong says:
 They have been to China many times.
car says:
 Yes.
 They may have contacted companies in China.
Hailong says:
 People from home country have already been in resolve [typo] with them.
 Contact
car says:
 oh.
 Well our advancement effort needs to have a reasonable timetable.
Hailong says:
 I think they can test plant the regular breeds. But I feel it is not certain that their products will
    do well in Huang-huai-hai area and the east of northern China without us doing anything.
    But we can combine their male parent with our female parent. That may very likely produce
    very good result.
car says:
 Yes.
Hailong says:
 Our male parent source is weak, right?
car says:
 I think we should speed up the partnership.
 Yes male parent is hard to get.
 The inbred seedling separation can get us very good breed easily but not male parent.
 So male parent seems in short supply.
Hailong says:
 So I have tried to hint and stress so many times that we should use their male parents, or even
    purchase it.
  Normally they sell one parent for I million dollars. But I didn't ask them whether it's corn or
    soybean, male or female parent. But I have told them that even if we use their male parent,
    we are still just trying out our luck. And to use I million dollars to try our luck is sort of
    costly [for us].
car says:
 Yes.
 The home country only cares about the value of the breeds produced by grouping and coupling
  when it comes to parent related transactions.



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 They consider the parent good only if the breeds from grouping and coupling are good. Good
  breed determines good parents.
Hailong says:
 That's why I mentioned partnership to them. We can help them to test all sorts of possibilities,
   and when we succeed we enjoy the achievements together and pay them a fee.
car says:
 Yes.
 Breeds that do well in the US may not do as well in China. They need to be tested in different
   ecological regions.
Hailong says:
 By the way, their perspectives and thoughts are different from ours. We have perceived the
   core issue but they are still planning on how to occupy the main mechanized planting zones
   in China in one shot. That's too idealistic.
car says:
 Yes.
 It's getting late. Dr. MO you should get some rest. Keep in touch.
Hailong says:
 ok.
car says:
 Good night.
Hailong says:
 bye




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